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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS
EL DORADO DIVISION

BOYD BRINLEE CAMPBELL PLAINTIFF

V. CASE NO. 1:20-CV-01010

ANDREW CLYDE and ROGER JENKINS DEFENDANTS
ORDER

Plaintiff Boyd Brinlee Campbell filed this action pro se on April 2, 2020. (Doc. 1).
Mr. Campbell's Complaint claims that Defendants Andrew Clyde, identified as the CEO
of Murphy USA, and Roger Jenkins, identified as the CEO of Murphy Oil Corp., committed
intellectual property theft. Shortly after the Complaint was served, Defendants Clyde and
Jenkins jointly filed a Motion to Dismiss (Doc. 12) alleging a lack of federal subject-matter
jurisdiction and failure to state any plausible claims for relief. Mr. Campbell initially filed
a response in opposition to the Motion (Doc. 16); however, today he filed an updated
response agreeing that “this court lacks subject matter jurisdiction” and offering his
“sincerest apologies for wasting your valuable time.” (Doc. 19).

The Court construes Mr. Campbell’s most recent filing (Doc. 19) as a request to
voluntarily dismiss his case due to a lack of subject matter jurisdiction under Rule 41(a)(2).
That request is granted, and IT IS ORDERED that this case is DISMISSED WITHOUT
PREJUDICE on the Plaintiffs own motion.

IT IS SO ORDERED on ee day of June, 2

TIMOTHY . BROOKS
UNITED STAAES DISTRICT JUDGE

   
 

 
